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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA and THE
 STATE OF DELAWARE ex rel. RONALD
 SHERMAN,                                             Civil Action No.: 1:17-cv-00419-RGA
                     Plaintiffs-Relator,              CONFIDENTIAL – FILED UNDER
                                                      SEAL
         v.

 CHRISTIANA CARE HEALTH SERVICES,
 INC., CHRISTIANA CARE HEALTH
 SYSTEM, CHRISTIANA HOSPITAL, and
 WILMINGTON HOSPITAL,

                    Defendants.



                    DEFENDANTS’ D. DEL. LR 7.1.1 CERTIFICATION

        Defendants’ Christiana Care Health Services, Inc., Christiana Care Health System, Inc.,

 Christiana Hospital, and Wilmington Hospital hereby certify, pursuant to D. Del. LR 7.1.1, that it

 made a reasonable effort to reach agreement with Plaintiffs-Relator on the matters set forth in

 Defendants’ Motion to Exclude Relator’s Expert Virginia Evans filed contemporaneously

 herewith. The parties met and conferred on February 8, 2023 on a telephonic conference involving

 their respective lead counsel, but were unable to reach agreement.
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 Dated: February 13, 2023                  Respectfully submitted,

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